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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF LOUISIANA

UNITED STATES OF AMERICA                        CRIMINAL NO. 20-055

VERSUS                                          SECTION "F"
                                                JUDGE MARTIN L.C. FELDMAN
JASON R. WILLIAMS
NICOLE E. BURDETT                               MAGISTRATE (4)
                                                MAGISTRATE JUDGE ROBY

                         Index to Defense Hearing Exhibits

     1.           Nola.com -Bill Barr blasts media, "social justice DAs"
     2.           Nola.com -Jason Williams announces bid for New Orleans DA
     3.           21 USC 5331 - Eastern District of Louisiana
     4.           21 USC 5332- Eastern District of Louisiana
     5.           Harold Asher Declaration and Exhibits
     6.           G0078473 -A.B. Tax Returns 2012



     10.          Form 13368 -IDRS Request Form
     11.          G000001 - IRS Report of Henry Timothy
     12.          G0015131 -Michael Magner MOC dated 11.20.2019


     15.          IRS Form 3949-A (Rev. Oct. 2020)




     22.          Text with Jason/John Bowker

     24.          Lori Marable October 2018 Calendar
     25.          Lori Marable November 2018 Calendar
     26.          IRS Primary Investigation Evaluation Memo re: Jason Rogers Williams




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